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       Attorneys for Defendants
     8
       DSW SHOE WAREHOUSE, INC.
     9 and DESIGNER BRANDS INC.
    10                           UNITED STATES DISTRICT COURT
    11                          CENTRAL DISTRICT OF CALIFORNIA
    12                                WESTERN DIVISION
    13 JILL MORRISON; individually, and on            Case No. 2:19-cv-09477-DSF-AFM
       behalf of other members of the general
    14 public similarly situated and on behalf of     Assigned to Hon. Dale. S. Fischer
       other aggrieved employees pursuant to
    15 the California Private Attorneys General       DECLARATION OF KATHERINE
       Act,                                           CLAYTON IN SUPPORT OF
    16                                                DEFENDANTS’ MOTION TO (1)
                    Plaintiff,                        DISMISS PLAINTIFF’S ELEVENTH
    17                                                CAUSE OF ACTION (FRCP Rule
              vs.                                     12(b)(6)); (2) COMPEL
    18                                                ARBITRATION OF PLAINTIFF’S
       DSW SHOE WAREHOUSE, INC., a                    INDIVIDUAL CLAIMS; (3) STRIKE
    19 Missouri Corporation; DESIGNER                 CLASS ALLEGATIONS; AND (4)
       BRANDS, INC., a California                     STAY ACTION
    20 Corporation; and DOES 1 through 100,
       inclusive,                                     (Filed Concurrently With Notice of
    21
                    Defendants.                       Motion; Memorandum of Points and
    22                                                Authorities; Declarations of Miriam
                                                      Shoap and Peter Hering; and [Proposed]
    23
                                                      Order)
    24
                                                                       Hearing
    25
                                                      Date:               February 10, 2020
    26                                                Time:               1:30 p.m.
    27                                                Courtroom:          7D

    28

         2709/027347-0024
                                                                              2:19-cv-09477-DSF-AFM
         14420174.3 a12/09/19                       -1-            DECLARATION OF KATHERINE CLAYTON
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     1                             DECLARATION OF KATHERINE CLAYTON
     2             I, Katherine Clayton, declare as follows:
     3             1.           I am a Senior Manager of Learning & Development at Designer Brands
     4 Inc. (“Designer Brands”), which is the parent corporation of DSW Shoe Warehouse,
     5 Inc. (“DSW,” together with Designer Brands, “Defendants”).                      I make this
     6 declaration in support of Defendants’ motion to (1) dismiss Plaintiff’s eleventh cause
     7 of action pursuant to Federal Rule of Civil Procedure 12(b)(6); (2) compel arbitration
     8 of Plaintiff’s individual claims against DSW and Designer Brands; (3) strike
     9 Plaintiff’s class allegations pursuant to Federal Rule of Civil Procedure 12(f); and
    10 (4) stay the action pending the completion of the arbitration. The following facts are
    11 based on my personal knowledge and my review of business records, which are kept
    12 in the ordinary course of business. All such business records were created or
    13 maintained in the ordinary course of Defendants’ business and in accordance with
    14 normal business practices. If called as a witness, I could and would testify
    15 competently to these facts under oath.
    16             2.           I have worked for Designer Brands, which was formerly known as
    17 DSW Inc., since 2009, most recently as a Senior Manager, Learning &
    18 Development, in the Human Resources Learning & Development Department, a
    19 position I have held since March 2019. Before moving into my current role, I
    20 worked as a Manager, e-Learning, from May 2014 to March 2019. In my current
    21 and previous roles, I am and was responsible for providing training modules to
    22 DSW’s’ associates, which includes assistant store managers like Jill Morrison, on
    23 DSW’s employment policies and practices.
    24             3.           Starting in 2007, Defendants began training associates through an
    25 online training platform called Learning Resource Center Online (“LRC Online”).
    26 Every associate is assigned an individual LRC Online profile, called “My
    27 Transcript,” which tracks the training modules the associate has completed and the
    28 training modules the associate still needs to complete. As part of my role as a

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     1 Manager, e-Learning, I managed the training content placed on the associates’ LRC
     2 Online transcripts. Further, in my current role (and my previous role), I can see what
     3 trainings the associates have completed on their LRC Online transcripts.
     4             4.           To access their LRC Online transcript, each associate is given a unique
     5 username and an initial password, which the associates are required to change to
     6 their own unique password when they first log in to LRC Online. Only the associate
     7 has both the unique username and the personally-selected password to access the
     8 associate’s LRC Online transcript and complete the assigned trainings. Associates
     9 are prohibited from sharing their usernames and passwords with anyone under
    10 DSW’s Technology Use Policy. Ms. Morrison completed the training on DSW’s
    11 2014 Technology Use Policy on June 28, 2014. Attached as Exhibit 1 is a copy of
    12 DSW’s 2014 Technology Use Policy, and attached as Exhibit 2 is a screenshot
    13 showing that Ms. Morrison reviewed and completed the training on DSW’s 2014
    14 Technology Use Policy on June 28, 2014. Ms. Morrison received training at least
    15 twice on Information Security Awareness, which included specific training on
    16 password security, on April 18, 2013 and June 28, 2014. Attached as Exhibit 3 are
    17 screenshots showing that Ms. Morrison reviewed and completed the training on
    18 Information Security Awareness on April 18, 2013 and June 28, 2014. Attached as
    19 Exhibit 4 are relevant excerpts from the Information Security Awareness training
    20 she completed on April 18, 2013, and attached as Exhibit 5 are relevant excerpts
    21 from Information Security Awareness training she completed on June 28, 2014.
    22             5.           In March 2017, DSW rolled out a Dispute Resolution Agreement that
    23 provided for arbitration of employment-related disputes (the “Arbitration
    24 Agreement”) and a new Associate Handbook (the “Handbook”) for both existing
    25 associates and new hires. DSW used LRC Online to distribute the Arbitration
    26 Agreement and the Handbook in electronic format to associates.                       It was my
    27 responsibility to place both the Arbitration Agreement and the Handbook on the
    28 associates’ LRC Online transcripts.

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     1             6.           On March 10, 2017, I placed the following training modules on the
     2 LRC Online transcripts of store management at all DSW stores, including Ms.
     3 Morrison’s LRC Online transcript: (1) the Associate Handbook module (the
     4 “Handbook Module”); and (2) the DSW Arbitration Agreement – Stores module (the
     5 “Arbitration Module”). Store management was notified about the new training
     6 modules on March 13, 2017.
     7             7.           The Handbook Module walks the associates through the Handbook
     8 step-by-step in click-through fashion. The Handbook specifically mentions DSW’s
     9 Arbitration Agreement and explains that associates who do not opt of the Arbitration
    10 Agreement within 30 days of receipt will be bound by the terms of the Arbitration
    11 Agreement. Further, the Handbook specifically refers associates to their LRC
    12 Online transcripts for opt-out instructions. Attached as Exhibit 6 are the relevant
    13 screenshots of the Handbook Module I assigned to LRC Online transcripts in March
    14 2017.
    15             8.           The Arbitration Module walks the associates through the Arbitration
    16 Agreement step-by-step in click-through fashion.                Attached as Exhibit 7 are
    17 screenshots of each screen of the click-through process of the Arbitration Module.
    18             9.           DSW’s records reflect that Ms. Morrison signed into her LRC Online
    19 transcript on March 15, 2017, to review the Handbook Module and the Arbitration
    20 Module. Only Ms. Morrison, using her unique username and her personally-selected
    21 password could complete the training modules on her LRC Online transcript.
    22                          a.    DSW’s records reflect that Ms. Morrison completed the
    23 Handbook Module at 7:17 pm PDT on March 15, 2017. Attached as Exhibit 8 is a
    24 screenshot from Ms. Morrison’s LRC Online transcript showing the time and date
    25 Ms. Morrison electronically completed the Handbook Module.1 Only Ms. Morrison,
    26 by using her unique username and her personally-selected password, could have
    27
                   1
    28                 Times listed on the screenshots are in EDT, not PDT.

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     1 completed the Handbook Module, which created the date and time stamps listed on
     2 Exhibit 8. Further, only after Ms. Morrison acknowledged on the last screen of the
     3 Handbook Module (Exhibit 6) that she had received the Handbook, which required
     4 her to click the box next to the words “I acknowledge,” would her LRC Online
     5 transcript show “Completed” as the status for the Handbook Module.
     6                          b.   After Ms. Morrison completed the Handbook Module, she
     7 received a certificate of completion, available on the Completed tab of Ms.
     8 Morrison’s LRC Online transcript. Attached as Exhibit 9 is a copy of the certificate
     9 of completion for the Handbook Module.
    10                          c.   DSW’s records further reflect that directly after reviewing the
    11 Handbook Module, Ms. Morrison completed the Arbitration Module at 7:19 pm
    12 PST. Attached as Exhibit 10 is a screenshot from Ms. Morrison’s LRC Online
    13 transcript showing the time and date Ms. Morrison electronically completed the
    14 Arbitration Module. Only Ms. Morrison, by using her unique username and her
    15 personally-selected password, could have completed the Arbitration Module, which
    16 created the date and time stamps listed on Exhibit 10. Further, only after Ms.
    17 Morrison acknowledged on the last screen of the Arbitration Module (Exhibit 7) that
    18 she had read and understood the Arbitration Agreement, which required her to click
    19 the box next to the words “I acknowledge,” would her LRC Online transcript show
    20 “Completed” as the status for the Arbitration Module.
    21                          d.   After Ms. Morrison completed the Arbitration Module, she
    22 received a certificate of completion, available on the Completed tab of Ms.
    23 Morrison’s LRC Online transcript.                Attached as Exhibit 11 is a copy of the
    24 certificate of completion for the Arbitration Module.
    25             10.          While DSW’s records reflect that Ms. Morrison reviewed the
    26 Arbitration Module in one session, she could, if she chose to, have reviewed the
    27 Arbitration Module in several sessions. Her LRC Online transcript would have
    28 saved her progress and allowed her to return to it at any time. Even after she

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                      1 completed the Arbitration Module, she had the ability to go back into her "My
                      2 Transcripts" on LRC Online under "Completed" trainings and re-review the
                  3 completed Arbitration Module. In fact, for the remainder of her employment with
                  4 DSW, Ms. Morrison would have had access to the full Arbitration Module under her
                  5 "Completed" transcripts. Attached as Exhibit 12 is a summary of Ms. Morrison's
                  6 completed trainings on her LRC Online transcript. In addition to logging in to re-
                  7 review the Arbitration Module, Ms. Morrison could have also printed screenshots of
                  8 the different screens of the module for her records on her store's office printer.
                  9               11.          As an assistant manager, Ms. Morrison had access to a PDF version of
                10 the Arbitration Agreement on DSW's intranet. She could have accessed the PDF
                11 version during her employment and printed herself a copy of the Arbitration
                12 Agreement.
                 13               12.          As set forth above, Ms. Morrison was the only person who should have
                14 known both her unique usemame and her personally-selected password in order to
                15 acknowledge that she had reviewed the Handbook Module and the Arbitration
                16 Module.
                17                I declare under penalty of perjury under the laws of the United States of
                18 America that the foregoing is true and correct.
                19                Executed on December 10 , 2019, at Columbus, Ohio.
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Rutan & Tucker, LLP
 attorneys at Jaw                                                                                  2: l 9-cv-09477-DSF-AFM
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                          EXHIBIT 1
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 DSW                                                                                           Technology Use Policy
                                                                                                       Version 2014

Effective
Effective Information
          Information Security
                        Security is
                                 is a
                                    a collaborative
                                      collaborative effort
                                                    effort involving
                                                           involving all
                                                                     all DSW
                                                                         DSW Associates
                                                                             Associates and
                                                                                        and Business
                                                                                            Business
Partners.
Partners. We
           We are
               are all
                   all responsible
                       responsible for
                                    for Information
                                        Information Security.
                                                     Security.

Information Asset: An Information Asset is a definable piece of information that is stored in a manner recognized to be
valuable to the organization.

Information Device: An Information Device
                                    Device is any device that accesses, processes, stores or transports Information Assets
(e.g. computers, mobile devices, network equipment, printers).

DSW Associates and DSW Business Partners (collectively referred to as “Users”)
                                                                      "Users") are required to comply with the following:

     1.   DSW reserves the right to audit Information
                                          Information Devices to ensure compliance with this policy.

     2.   DSW reserves the right to monitor any software or service that has access to DSW Information
                                                                                           Information Assets.

     3.   DSW reserves the right to remove or disable any software or service that is in violation of any DSW policy,
          standard or procedure.

     4.   DSW reserves the right to collect any device, including a personally owned device, meeting any of the following
          conditions:
              a. Connected to any non-public DSW network (e.g. corporate wireless)
              b. Connected to any DSWDSW owned Information Device (e.g. plugged into your DSW DSW PC)
              c. Storing DSW Information Assets
              d. Suspected of compromising the confidentiality, integrity or availability of DSW Information
                                                                                                 Information Assets

     5.   DSW reserves the right to erase DSW Information
                                              Information Assets (e.g. DSW email) contained on any device including
          personally owned devices. This may include complete erasure of all storage.

     6.   Users have no right of privacy regarding anything they create, store, send, or receive by or through a DSW
                                                                                                                 DSW owned
          Information Device. Data on any DSW owned Information
                                                         Information Device
                                                                     Device is the property of DSW.
                                                                                                DSW.

     7.   Users are responsible for the security of their accounts, passphrases and SecurID
                                                                                    SecurlD tokens. Account sharing is
          prohibited.

     8.   Files containing Level
                           Level 1 or Level
                                      Level 2 data:
               a. Must only be saved on restricted-access network drives
               b. Must only be accessed via DSW network or remotely via DSW VPN
               c. Must not be saved on portable or removable media
               d. Must not be transmitted via email, not even if encrypted
               e. Must not be saved to any external file storage/sharing service

     9.   Emailing DSW
                   DSW Information
                       Information Assets to or from a non-DSW email account (e.g. Gmail, Outlook.com) is prohibited.

     10. DSW email accounts are for DSW
                                    DSW business purposes. Users are permitted to use DSW email for occasional
         personal reasons; however, DSW expects personal use will be reasonable and the privilege is not abused.

     11. DSW email is available remotely via mail.dswinc.com and on mobile devices via ActiveSync. Users may configure
         ActiveSync on personal devices but that device may be subject to other policies. Users may use mail.dswinc.com
         on personal and public devices. When accessing web mail from a public or shared computer Users must choose
         the security option “This
                             "This is a public or shared computer”
                                                         computer" when logging in.

     12. Users are responsible for the security of their personal devices (e.g. software updates, configuration). Users
         should not access DSW
                           DSW email or other Information Assets from any device that may be improperly secured.
Level 3 Data
        Data                                          Page 1 of 2                            Last Revision Date: 5/21/2014
                                                                                            Last Approval Date: 6/10/2014


                                                                                                      EXHIBIT 1, PAGE 7
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 DSW                                                                                          Technology Use Policy
                                                                                                      Version 2014


     13. DSW owned Information Devices
                               Devices must not be left unattended in a public place.

     14. When unattended in a vehicle, DSW
                                        DSW owned Information Devices must be stored in a locked trunk. If that is not
         possible, Information Devices must be kept out of plain sight in a locked vehicle.

     15. When unattended in a hotel room, DSW
                                          DSW owned Information Devices must be locked in a suitcase or hotel safe.

     16. DSW owned Information
                      Information Devices
                                  Devices must not be used by anyone other than the authorized User. This includes the
         User’s
         User's family members.

     17. If a DSW owned Information
                          Information Device or any device using active sync is lost or stolen, the User must immediately
         report the incident to the Service Desk and to the User’s
                                                            User's manager. A police report must be filed for any DSW
         owned Information
                 Information Device
                              Device stolen and a copy of the police report must be sent to the Loss
                                                                                                  Loss Prevention
         Department. If personal device using active sync is lost or stolen, DSW
                                                                             DSW has the right to send a factory reset
         command to the device.

     18. Attaching unauthorized devices to DSW owned Information Devices is prohibited (e.g. don’t
                                                                                             don't connect any
         personal device to your DSW laptop). Prohibited devices include mobile phones, tablets, music players and
         portable storage devices.

     19. Attaching unauthorized network devices to a DSW network is prohibited. Prohibited
                                                                                Prohibited devices include network
         switches, hubs, wireless routers and repeaters.

     20. DSW can provide a USB drive for physical data transfers. DSW
                                                                  DSW has encrypted USB drives available if necessary. A
         USB drive can be requested through an IT Services Request (ITSR).

     21. Connecting unauthorized Information Devices to any non-public, non-VPN DSW network is prohibited (e.g. don’t
                                                                                                                don't
         connect your personal tablet to “snickers”).
                                         "snickers").

     22. DSW provides a public wireless network (DSW-Public) for Users who have personal devices that require an
         Internet connection.

     23. DSW provides remote access to Users through VPN. Access is granted based on business need. Remote
                                                                                                    Remote access
         can be requesting through an IT Services Request (ITSR).

     24. Installing unauthorized, unlicensed, or illegal copies of software on DSW
                                                                               DSW Information Devices is prohibited

     25. The use of peer-to-peer file sharing programs on DSW owned Information Devices is prohibited (e.g. BitTorrent,
                                                                                                            BitTorrent,
         FrostWire, Vuze).

     26. Syncplicity is the DSW approved external file storage/sharing service. Storing DSW
                                                                                        DSW Information
                                                                                             Information Assets on
         unapproved file storage/sharing services is prohibited (e.g. Dropbox,
                                                                      Dropbox, Google Drive, SkyDrive, SpiderOak).
         Syncplicity access can be requesting through an IT Services Request (ITSR).

Failure
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                                   this policy will result
                                        policy will result in
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                        EXHIBIT 2
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                        EXHIBIT 3
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2013 DSW Information Security Awareness

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2014 Information Security and Compliance Awareness

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                        EXHIBIT 4
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Information Security Awareness




                                                                    DSW
                                                                 SHOE WAREHOUSE®
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                                                              EXHIBIT 4, PAGE 12
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                                     #:182




             Protecting DSW Information Assets:
                      Strong Passwords

Do:                                        Don’t:
                                           Don't:
•• Use a long password with                •• Use information that is
   mixed-case and a random                    easily obtained about you in
   order of letters, numbers &                your password
   punctuation such as:                    •• Use dates or any
   IcU2day!&forEVer
   lcU2day!&forEVer                           combination thereof
•• Use at least 11 characters              •• Use keyboard sequences
•• Use a password you can                  •• Use a simple word
   remember without writing                   (buckeye)
   it down                                 •• Reveal a password to
                                              anyone
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                                                                 DSW     WAREHOUSE®■
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                                    Summary
As a result of
            of completing this course, participants:


    ¾
    > Realize the ways to protect DSW Information Assets
        ¾
        > Proper password set up

        ¾
        > Using social communications and media safely and effectively

    ¾
    > Understand what sensitive information is
        ¾
        > Proper disposal of unneeded sensitive information

    ¾
    > By marking this LRC training complete, acknowledge this
      training and agree to follow DSW’s
                                   DSW's Technology Use Policy



                                                                            DSW
                                                                              WAREHOUSE*■
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                                                                                       12




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       Information Security and
        Compliance Awareness




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                        Protecting DSW:
                Strong Passwords or Passphrases
Do:                                        Don’t:
                                           Don't:

¾
> Use at least 12 characters               ¾
                                           > Use information that is
¾
> Use mixed-case and a                       easily obtained about you in
  random order of letters,                   your passphrase
  numbers, and punctuation                 ¾
                                           > Use dates or any
¾
> Use a passphrase you can                   combination thereof
  remember or use a secure                 ¾
                                           > Use keyboard sequences
  repository such as KeePass               ¾
                                           > Use a simple word or words
¾
> Change your passphrase if                  (gobuckeyes)
  you think someone else                   ¾
                                           > Share your passphrase with
  knows it                                   anyone
                                                                        DSW
                                                                    SHOE WAREHOUSE®
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                                                                 EXHIBIT 5, PAGE 16
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                        EXHIBIT 6
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                        Relevant
                        Relevant Screenshots
                                 Screenshots of
                                             of Click-Through
                                                Click-Through Process
                                                              Process
                                     Associate Handbook
                                     Associate Handbook

 Initial
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         Screen




 Screen
   –Arbitration
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                 Agreement
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 Screen
 Screen 81:
        81: Associate Receipt of
            Associate Receipt of Handbook
                                 Handbook

            Are
     Who We Are______        Accountability
                      |_____ Accountability_____        Collaboration
                                                 |______Collaboration______|      What We Of'er You       | Associate Receipt of Handbook


   The contents of this handbook are guidelines only and replace         By marking below, I acknowledge that I have received a copy
   any prior handbooks. Neither this handbook nor any other                                                         it, and have had the
                                                                         of the handbook, have read it or will read it.
   company guidelines, policies or practices create an                   opportunity to answer any and all questions I may have
   employment contract. The company has the right to change any          regarding its contents. I understand that failing to abide by any
   of its policies, benefits, working conditions, or practices with or   of the guidelines discussed in the handbook could lead to
   without notice at any time, in an individual case or in general.      discipline up to and including termination of my employment.
   Either the associate or the company may terminate the
   employment relationship, at any time for any reason. No one is
                                                                                                       □ I Acknowledge.
   authorized to give anyone an employment contract or of*'eroffer
   special terms of employment unless in writing and signed by an
   officer of the company. This notice applies to all associates
   regardless of date of hire.




                                                                         For questions about this handbook, please contact your
                                                                                                   team!.
                                                                         manager. Welcome to our team1




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                        EXHIBIT 7
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                                              Screenshots
                                              Screenshots of
                                                          of Click-Through
                                                             Click-Through Process
                                                                           Process
                                              DSW
                                              DSW Arbitration   Agreement -
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 Overview
 Overview Tab
          Tab

              Overview                H         Arbitration Agreement         H          Opt Out Instructions         H Arbitration Acknowledgement


   Please review and acknowledge the following Arbitration Agreement. Below is an overview of what an arbitration agreement is and how it
   affects you.



   Overview
  An arbitration agreement provides that any claim brought by an associate against DSW must be pursued in final and binding arbitration. Unlike
  litigation, final and binding arbitration takes place out of court. During arbitration, an impartial third party (known as an arbitrator) listens to each
  side's testimony and evidence. Afterwards, the arbitrator makes a final and binding determination by which each party is bound.



  Your Options
         •    By completing the acknowledgement, associates waive their rights to participate in class, collective, and representative actions against
              DSW.
         •    Associates are automatically opted in if they do not actively opt out within 30 days of receipt.
         •    Associates are able to opt out of the arbitration agreement within 30 days of receipt.




 Arbitration
 Arbitration Agreement
             Agreement Tab
                       Tab (10
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                               Total Slides)
                                     Slides)

              Overview                H        Arbitration Agreement          H          Opt Out Instructions         H Arbitration Acknowledgement


   Dispute Resolution Agreement
  This dispute resolution agreement is a contract and covers important issues relating to your rights. It is your sole responsibility to read and
  understand this Agreement. You are free to seek assistance from independent advisors of your choice outside the Company or to refrain from
  doing so if that is your choice.

  This dispute resolution agreement (the "Arbitration Agreement") is entered into by and between the undersigned Employee (sometimes "you" or
  "your") and DSW Inc. or the DSW affiliate or subsidiary (the "Company") that employs or will employ Employee. The Company and Employee agree
  that their mutual agreement to arbitrate Claims, as well as Employee's employment by the Company on and after the date Employee signs this
  Arbitration Agreement, provides sufficient consideration by each party for this Arbitration Agreement.




                                                                                                                                                         >


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              Overview               H         Arbitration Agreement         H         Opt Out Instructions         H     Arbitration Acknowledgement



  1. Claims Covered by This Agreement
  Except as otherwise set forth in this Arbitration Agreement, final and binding arbitration shall be the sole and exclusive remedy for all Claims
  between the Company and Employee.

  The term "Claims" means all past, present, and future claims, disputes, and controversies of any nature in any way arising out of, relating to, or
  associated with Employee's employment with the Company for which a court or governmental agency is authorized by law to grant relief, whether
  such claim is asserted by Employee against the Company or by the Company against Employee. This includes, but is not limited to: (1) any claims for
  breach of contract, torts, discrimination, harassment, violation of public policy, unpaid wages, bonuses, expenses or penalties, any claims relating to
  benefits, hours of work or working conditions; (2) any claims under the Uniform Trade Secrets Act, Civil Rights Act of 1964, Americans With
  Disabilities Act, Age Discrimination in Employment Act, Family and Medical Leave Act, Fair Labor Standards Act, Employee Retirement Income
  Security Act (except for claims for employee benefits under any benefit plan sponsored by the Company and covered by the Employee Retirement
  Income Security Act of 1974 or funded by insurance). Affordable Care Act, Genetic Information Non- Discrimination Act, and state statutes, if any,
  addressing the same or similar subject matters, and all federal or state legal claims that have not been filed in a court or brought before a state,
  federal, or other governmental administrative body as of the date you received this Agreement; (3) any claims relating to the termination of
  Employee's employment, any demotion or disciplinary action, any decision not to promote Employee, or any other adverse employment action taken
  by the Company against Employee; and (3) any employment-related claims by the Company against Employee. This Arbitration Agreement does not
  create, and shall not be construed to create, any new substantive rights that Employee or the Company would not have in a judicial or administrative
  action in the absence of this Arbitration Agreement.




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              Overview               H         Arbitration Agreement         H          Opt Out Instructions        H Arbitration Acknowledgement


  Dispute Resolution Agreement
  Disputes covered by this Agreement include, without limitation, disputes arising out of or relating to the interpretation or application of this
  Agreement, but not as to the enforceability, revocability or validity of the Agreement or any portion of the Agreement.

  Nothing contained in this Agreement shall be construed to prevent or excuse you (individually or together with others) or the Company from
  utilizing the Company's existing internal procedures for resolution of complaints, and this Agreement is not intended to be a substitute for the
  utilization of such procedures.

  2. Express Beneficiaries
      affiliated enlilies,
  All alTilialed entities, owners, shareholders, directors, rrterrtbers,
                                                            members, officers, employees, and agents of the Company are intended to be beneficiaries of
  this Arbitration Agreement. Any arbitrable Claim asserted against any such beneficiary arising out of, relating to, or associated with Employee's
  employment, or termination of Employee's employment, with the Company is governed by this Arbitration Agreement.




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              Overview              H         Arbitration Agreement        H          Opt Out Instructions        H     Arbitration Acknowledgement




  3. Rules of Arbitration
  Any Claim under this Arbitration Agreement shall be resolved by final and binding arbitration conducted before a single arbitrator. The arbitration
  will be administered by the American Arbitration Association in accordance with this Arbitration Agreement and AAA's Employment Arbitration Rules
  and Mediation Procedures ("AAA Rules") then in effect, to the extent the AAA Rules do not conflict with this Arbitration Agreement or the Federal
  Arbitration Act ("FAA"). In case of such a conflict, this Arbitration Agreement and the FAA shall govern. The AAA Rules can be found at www.adr.org,
  by Internet searching for "AAA Employment Arbitration Rules," or by asking for a copy from the Human Resources Department by contacting your
  HR Manager. If for any reason the AAA cannot or will not administer the arbitration, either party may apply to a court of competent jurisdiction with
  authority over the location where the arbitration will be conducted for appointment of a neutral arbitrator.

  California Employees: Any Claim under this Arbitration Agreement shall be resolved by final and binding arbitration conducted before a single
  arbitrator. The arbitration will be administered by JAMS pursuant to this Arbitration Agreement and JAMS Employment Arbitration Rules
  & Procedures ("JAMS Rules"), and JAMS Policy on Employment Arbitration Minimum Standards of Procedural Fairness ("JAMS Policy"), to the
  extent the JAMS Rules and JAMS Policy do not conflict with this Arbitration Agreement or the FAA. In case of such a conflict, this Arbitration
  Agreement and the FAA shall govern. The JAMS Rules and JAMS Policy can be found online at www.jamsadr.com/rules-employment-arbitration
  (Rules) and www.jamsadr.com/employment-minimum-standards (Policy), or by requesting copies from the Human Resources Department by
  contacting your HR Manager. If for any reason JAMS cannot or will not administer the arbitration, either party may apply to a court of competent
  jurisdiction with authority over the location where the arbitration will be conducted for appointment of a neutral arbitrator.




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              Overview              H         Arbitration Agreement        H          Opt Out Instructions        H     Arbitration Acknowledgement



  4. Limitations
     Limitations To Agreement's
                    Agreement's Application
  This Agreement does not apply to claims for workers' compensation benefits, state disability insurance, or unemployment insurance benefits.
  Disputes that may not be subject to predispute arbitration agreement as provided by the Dodd-Frank Wall Street Reform and Consumer Protection
  Act (Public Law 111-203) are also excluded from the coverage of this Agreement. In addition, this Agreement does not apply to any claim by
  Employee for benefits from an employee benefit plan or pension plan that has its own binding, non-judicial dispute resolution procedure.

  A party may apply to a court of competent jurisdiction for temporary or preliminary injunctive relief in connection with an arbitrable controversy,
  but only upon the ground that the award to which that party may be entitled may be rendered ineffectual without such provisional relief.

  Regardless of any other terms of this Agreement, claims may be brought before and remedies awarded by an administrative agency if applicable law
  permits the agency to adjudicate the claim notwithstanding the existence of an agreement to arbitrate. Such administrative claims include without
  limitation, claims or charges brought before the Equal Employment Opportunity Commission (www.eeoc.govl.
                                                                                                   (www.eeoc.gov). the U.S. Department of Labor
  (www.dol.gov).
  (www.dol.govl. or the National Labor Relations Board (www.nlrb.gov).
                                                        (www.nlrb.govl. Nothing in this Agreement shall be deemed to preclude or excuse a party from
  bringing an administrative claim before any agency in order to fulfill the party's obligation to exhaust administrative remedies before making a claim
  in arbitration.




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  5. Starting An Arbitration
  Either party may demand arbitration as provided in the AAA Rules. If you choose to initiate arbitration, you must provide a copy of your Demand
  (as defined in the AAA Rules) to:

   DSW Inc.
   Legal Department
   810 DSW Drive
   Columbus, Ohio 43219
   Attention: General Counsel

   The location of the arbitration proceeding shall be no more than 45 miles from the place where the Employee works, or last worked, for the
   Company, unless each party to the arbitration agrees in writing otherwise.

  6. Paying For The Arbitration
  DSW will pay all arbitration costs and expenses unique to arbitration, including without limitation the arbitrator's fees. A party demanding
  arbitration may be responsible for paying a filing fee, as set by the AAA Rules. Each party shall bear its, his, or her own attorneys' fees and costs;
  provided, however, that if any party prevails on a Claim entitling the prevailing party to attorneys' fees or costs, the Arbitrator may award
  reasonable attorneys' fees or costs (or both) to the prevailing party in accordance with such claim and applicable law. Any dispute regarding
  payment of fees and/or costs will be resolved by the arbitrator.


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              Overview                H        Arbitration Agreement          H          Opt Out Instructions         H     Arbitration Acknowledgement



  7. The Arbitrator's Award
  The arbitrator must follow applicable law and may award only those remedies that would have applied had the matter been heard in court.
  Judgment may be entered on the arbitrator's decision in any court having jurisdiction.

  8. Class, Collective, and Representative Action Waiver
  This Agreement affects your ability to participate in class, collective, and representative actions. Both the Company and you agree to bring any
  dispute in arbitration on an individual basis only, and not on a class, collective, or representative basis on behalf of others. There will be no right or
  authority for any dispute to be brought, heard or arbitrated as a class, collective, representative or private attorney general action, or as a member in
  any such class, collective, representative or private attorney general proceeding ("Class Action Waiver"). The Class Action Waiver does not apply to
  any claim you bring as a private attorney general solely on your own behalf and not on behalf of others.

  Notwithstanding any other provision of this Agreement or the AAA Rules, disputes regarding the validity, enforceability or breach of the Class Action
  Waiver may be resolved only by a civil court of competent jurisdiction and not by an arbitrator. In any case in which (1) the dispute is filed as a class,
  collective, representative or private attorney general action and (2) a civil court of competent jurisdiction finds all or part of the Class Action Waiver
  unenforceable, the class, collective, representative and/or private attorney general action to that extent must be litigated in a civil court of competent
  jurisdiction,
  jurisdiction, but the portion of the Class Action Waiver that is enforceable shall be enforced in arbitration.




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              Overview               H         Arbitration Agreement         H         Opt Out Instructions         H     Arbitration Acknowledgement



  You will not be retaliated against, disciplined or threatened with discipline as a result of your exercising your rights under Section 7 of the National
  Labor Relations Act by the filing of or participation in a class, collective, representative, or private attorney general action in any forum. However,
  the Company may lawfully seek enforcement of this Agreement and the Class Action Waiver under the Federal Arbitration Act and seek dismissal of
  such class, collective or representative actions or claims. The Class Action Waiver shall be severable in any case in which the dispute is filed as an
  individual action and severance is necessary to ensure that the individual action proceeds in arbitration.

  9. Your Right to Opt Out of Arbitration
  Arbitration is not a mandatory condition of Employee's employment at the Company, and therefore an Employee may submit a statement
  notifying the Company that the Employee wishes to opt out and not be subject to this Agreement. An Employee who wants to opt out must notify
  the Company of his or her intention to opt out by submitting to the Legal Department a signed and dated written notice drafted by the Employee
  stating that the Employee is opting out of this Arbitration Agreement. The written opt-out notification may be sent to the Legal Department: (1) via
  mail (or FedEx, UPS, etc.) to 810 DSW Drive, Columbus Ohio 43219, Attn: Legal Department, (2) via email to legalcontracts@dswinc.com or (3) via
  fax to (614) 872-1475. You must keep a copy of proof of sending the written opt-out notification. In order to be effective. Employee's opt-out
  notification must be received by the Legal Department within 30 days of the Employee's receipt of this Agreement.




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              Overview               H         Arbitration Agreement         H         Opt Out Instructions         H     Arbitration Acknowledgement


  An Employee who timely opts out as provided in this paragraph will not be subject to any adverse employment action as a consequence of that
  decision and may pursue available legal remedies without regard to this Agreement. If an Employee does not opt out of this Agreement within
  30 days of the Employee's receipt of this Agreement through one of the methods specified above, continuing employment constitutes mutual
  acceptance of the terms of this Agreement by Employee and the Company, even if Employee transfers to a different position or a different location
  with the Company, and even after the employment relationship ends. Employee has the right to consult with counsel of the Employee's choice
  concerning this Agreement and/or the right to opt out of this Agreement.

  10. Enforcement of this Agreement
  This Arbitration Agreement represents the complete agreement between Employee and the Company concerning the subject matter hereof and
  supersedes any prior discussions or representations relating to its subject matter. Nothing in this Arbitration Agreement alters the at-will status
  of Employee's employment. This Arbitration Agreement may not be altered or modified other than by an individual written agreement specifically
  referencing such alteration or modification, signed both by Employee and by an Officer of the Company. If any provision of this Arbitration
  Agreement is held invalid, void or unenforceable by a court having jurisdiction, the remainder of this Arbitration Agreement shall remain in full force
  and effect; provided, however, that if the Class Action Waiver provision in Section 8 is held unenforceable, the parties shall be deemed to have
  made no agreement to conduct any arbitration on a class, collective or representative action basis, but rather only on an individual basis.




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                                              Arbitration Agreement                   Opt Out Instructions              Arbitration Acknowledgement



   11. Governing
       Governing Law
                 Law
   This Arbitration Agreement is governed by and enforceable under the Federal Arbitration Act, 9 U.S.C. § 1 et seq. ("FAA"). Either Employee or
   Company may bring an action in any court having jurisdiction to compel arbitration under this Arbitration Agreement and to enforce an arbitration
   award. If for any reason the FAA is held not to apply to this Arbitration Agreement or any portion of it, the Arbitration Agreement shall, to that
   extent, be governed by and enforceable under the laws of the state in which Employee worked.




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 Opt
 Opt Out
     Out Instructions
         Instructions Tab
                      Tab

              Overview              H         Arbitration Agreement        H         Opt Out Instructions         H    Arbitration Acknowledgement



  Your Right to Opt Out of Arbitration
  Arbitration is not a mandatory condition of Employee's employment at the Company, and therefore an Employee may submit a statement
  notifying the Company that the Employee wishes to opt out and not be subject to this Agreement. An Employee who wants to opt out must notify
  the Company of his or her intention to opt out by submitting to the Legal Department a signed and dated written notice drafted by the Employee
  stating that the Employee is opting out of this Arbitration Agreement. The written opt-out notification may be sent to the Legal Department: (1) via
  mail (or FedEx, UPS, etc.) to 810 DSW Drive, Columbus Ohio 43219, Attn: Legal Department, (2) via email to legalcontracts@dswinc.com or (3) via
  fax to (614) 872-1475. You must keep a copy of proof of sending the written opt-out notification. In order to be effective. Employee's opt-out
  notification must be received by the Legal Department within 30 days of the Employee's receipt of this Agreement.

  An Employee who timely opts out as provided in this paragraph will not be subject to any adverse employment action as a consequence of that
  decision and may pursue available legal remedies without regard to this Agreement. If an Employee does not opt out of this Agreement within
  30 days of the Employee's receipt of this Agreement through one of the methods specified above, continuing employment constitutes mutual
  acceptance of the terms of this Agreement by Employee and the Company, even if Employee transfers to a different position or a different location
  with the Company, and even after the employment relationship ends. Employee has the right to consult with counsel of the Employee's choice
  concerning this Agreement and/or the right to opt out of this Agreement.




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                                                                           -6-




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 Arbitration
 Arbitration Acknowledgment
             Acknowledgment Tab
                            Tab

             Overview              H        Arbitration Agreement       H         Opt Out Instructions          H   Arbitration Acknowledgement




  I acknowledge that I have read and understand the terms of the Dispute Resolution Agreement ("Arbitration Agreement") between myself and
  DSW Inc. or the DSW affiliate or subsidiary (the "Company") that employs or will employ me. I also acknowledge that I have been given a
  reasonable opportunity to review the Arbitration Agreement and ask any questions I may have, and that the Company has responded to any
  questions or concerns to my satisfaction. I understand that by accepting or continuing employment with the Company, I agree to be bound by
  the terms of the Arbitration Agreement.



                                                I acknowledge.
                                                For a printed copy of the agreement, please see your manager.




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                                                                        -7  -



                                                                                                                          EXHIBIT 7, PAGE 25
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 Associate Handbook

 > Edit Transcript Details




                                            Trainino Type:     Online Class
                                                  Provider.    DSW - HR Compliance
                                                   Version:    5.0
                                           Training Hours:     0 Hours 0 Mm
                                              Description:     All DSW Associates are required to acknowledge they have received a copy of the handbook
                                                    Status:    Completed
                                                 Due Date:     3/31/2017
                                                Certificate:   Print Certificate


     TRAINING PROGRESS



                                                            Last Accessed: 3/15/2017
                                                              Total Views: 1
                                                                View Time: 0 Hour(s) 1 Mmutefs)
                                                                    Status: Completed
                                                                 Modules: 35: ill View details of modules for Associate Handbook




    Assignment and Version History

     Registration Number                      Latest Registration?                 Delivery

     1                                        Yes                                  Started by JILL MORRISON on 3/15/2017 10 16 00 PM

     1                                        Yes                                  Assigned by KATHERINE CLAYTON on 3/10/2017 4 48 27 PM




    Transcript History

    Completed by JILL MORRISON (347570) on 3/15/2017 10:17 08 PM
    Started by JILL MORR SON (347570) on S'15i2017 10 16 00 PM
    Approved by Leemlng Ass.gnmem Top (KATHER NE CLAYTON) on 3/10/2017 4 43:28 PM
    Registered by Lean- ng Assortment Tool (KATHERINE CLAYTON i on 3.102017 4 48 28 PM
    Ass*gneo by Learning Assortment Tool (KATHERINE CLAYTONi on 3/10(2017 4 43 27 PM Comments Initial Reouest

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                        EXHIBIT 9
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                          DSW         ARMING Resource Center
                                            This certificate is awarded to

                                       JILL MORRISON
                                     for the successful completion of the course

                                          Associate Handbook
                                           By DSW - HR Compliance



Date: 3/15/2017




                                                                                   EXHIBIT 9, PAGE 27
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                      EXHIBIT 10
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  DSW Arbitration Agreement - Stores

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                          DSW          ;NIN( Resource Center
                                      ARMING
                                            This certificate is awarded to

                                       JILL MORRISON
                                     for the successful completion of the course

                                 DSW Arbitration Agreement - Stores
                                           By DSW - HR Compliance



Date: 3/15/2017




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              $VVRFLDWH+DQGERRN
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  &RPSOHWHG 6WDWXV&RPSOHWHG




  &KDUJH6HQG$VVRFLDWH7UDLQLQJ
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  :DJH +RXU²0DQDJHU(GLWLRQ
  &RPSOHWHG 6WDWXV&RPSOHWHG




  6XSSRUW0DQDJHU7UDLQLQJ&XUULFXOXP
  &RPSOHWHG1RQH 6WDWXV&RPSOHWHG




                                                             EXHIBIT 12, PAGE 31
